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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 19-CV-61680-SMITH

 HOWARD COHAN,

        Plaintiff,

 v.

 BANYAN FOOD CORP.,

       Defendant.
 __________________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the Parties’ Joint Stipulation of Dismissal with

 Prejudice (ECF No. 12). The Court having considered the Stipulation and being otherwise duly

 informed therein, it is ORDERED AND ADJUDGED as follows:

        1.      The Stipulation (ECF No. 12) is APPROVED.

        2.      The above-styled case is DISMISSED WITH PREJUDICE.

        3.      The Parties shall bear their own costs and fees except as provided for in the Parties’

  settlement agreement.

        4.      To the extent not otherwise disposed of herein, all pending motions are hereby

 DENIED AS MOOT and all deadlines are TERMINATED.

        5.      This case is CLOSED.

        DONE AND ORDERED in Fort Lauderdale, Florida this 26th day of September, 2019.



                                                       ___________________________
                                                       RODNEY SMITH
 cc: All counsel of record                             UNITED STATES DISTRICT JUDGE
